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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 BATTLE BORN INVESTMENTS COMPANY, LLC
 10170 W Tropicana Ave, Suite 156-290
 Las Vegas, NV 89148,
                            Plaintiff,
                                                                                24-cv-67
                                                              Civil Action No. _____________
        vs.

 U.S. DEPARTMENT OF JUSTICE
 950 Pennsylvania Avenue, NW
 Washington, D.C. 20530,

                               Defendant.



                                         COMPLAINT

       Plaintiff Battle Born Investments Company, LLC (“Battle Born”) brings this action under

the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, for declaratory, injunctive, and other

appropriate relief against the Defendant, the United States Department of Justice (“DOJ” or the

“Department”). Battle Born challenges DOJ’s failure to make a timely decision concerning Battle

Born’s request for public records, as well as its failure to release all responsive and non-exempt

records, relating to a civil forfeiture action captioned United States v. Approximately 69,370

Bitcoin, et al., Case No. 3:20-cv-7811-RS (N.D. Cal.). In support, Battle Born alleges the

following:

                                            PARTIES

       1.      Plaintiff Battle Born is a Nevada limited liability company with its principal place

of business in Las Vegas, Nevada.

       2.      Defendant DOJ is an agency of the U.S. government and is headquartered in

Washington, D.C. DOJ has possession, custody, and control of certain public records that Plaintiff


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has sought to access under the Freedom of Information Act, 5 U.S.C. § 552. The DOJ is

responsible for fulfilling this request.

                                  JURISDICTION AND VENUE

        3.      This Court has jurisdiction to preside over this action under 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

        4.      This Court is the proper venue for this action under 28 U.S.C. § 1391(e).

                                              FACTS

                        Request Under The Freedom Of Information Act

        5.      The Freedom of Information Act “was enacted to facilitate public access to

Government documents.” U.S. Dep’t of State v. Ray, 502 U.S. 164, 173 (1991). FOIA

implements “a general philosophy of full agency disclosure” of government records. U.S. Dep’t

of Just. v. Reps. Comm. for Freedom of the Press, 489 U.S. 749, 754 (1989). The statute

accordingly specifies that “each agency, upon any request for records which (i) reasonably

describes such records and (ii) is made in accordance with published rules ... shall make the

records promptly available to any person.” 5 U.S.C. § 552(a)(3)(A).

        6.      An agency must disclose agency records, unless “the agency reasonably foresees

that disclosure would harm an interest protected by an exemption described in [5 U.S.C. §

552(b)]” or “disclosure is prohibited by law.” 5 U.S.C. § 552(a)(8)(A)(i). The exemptions are to

be given a narrow compass “[c]onsistent with the Act’s goal of broad disclosure.” U.S. Dep’t of

Just. v. Tax Analysts, 492 U.S. 136, 151 (1989).

        7.      On or about November 3, 2020, according to DOJ, “Individual X signed a Consent

and Agreement to Forfeiture with the U.S. Attorney’s Office, Northern District of California. In



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that agreement, Individual X consented to the forfeiture of the [cryptocurrency wallet known as

the “1HQ3 wallet”] to the United States government.”

       8.       The U.S. Attorney’s Office for the Northern District of California, a DOJ

component, issued a press release on November 5, 2020, asserting, “The seizure [of the 1HQ3

wallet] represents the largest seizure of cryptocurrency in the history of the Department of Justice.”

       9.       The cryptocurrency stored in the 1HQ3 wallet, including approximately 69,370

Bitcoin, is now worth approximately $3 billion.

       10.      According to DOJ, on or before April 9, 2013, Individual X had participated in

stealing the cryptocurrency subsequently held in the 1HQ3 wallet by “hack[ing] into” the victim’s

account, “gain[ing] unauthorized and illegal access to” it, and “mov[ing] it into wallets that

Individual X controlled.”

       11.      According to DOJ, “requests for United States Attorney records should be sent to

the DOJ Executive Office for U.S. Attorneys (EOUSA), which “processes records maintained by

the United States Attorneys’ Offices nationwide.”

       12.      On October 20, 2023, pursuant to rights granted by Congress under the Freedom of

Information Act, Battle Born submitted to DOJ, through its EOUSA FOIA website, requests for

copies of government records.

                     Plaintiff’s FOIA Requests Are Proper Under The Law

       13.      Plaintiff’s narrowly-tailored FOIA request asked DOJ to produce copies of

documents showing:

             A. The name of the person who signed a Consent and Agreement to Forfeiture with
                the U.S. Attorney’s Office, Northern District of California, on or about November
                3, 2020, concerning a cryptocurrency wallet referred to as 1HQ3 in United States
                v. Approximately 69,370 Bitcoin, et al., Case No. 3:20-cv-7811-RS (N.D. Cal.);


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             B. The name of any person believed to have owned, possessed, or controlled that
                wallet; and
             C. The name of the person referred to as “Individual X” in that case.


       14.      The materials requested are not subject to exemptions or exceptions from FOIA.

       15.      The considerable public interest in the identity of the person who signed the

Consent and Agreement to Forfeiture on or about November 3, 2020, in what DOJ publicly

advertised as “the largest seizure of cryptocurrency in the history of the Department of Justice,”

outweighs any government interest in concealing the information.

       16.      FOIA Exemption 7(F) provides, inter alia, that an agency may withhold materials

“compiled for law enforcement purposes” if disclosure “could reasonably be expected to endanger

the life or physical safety of any individual.” 5 U.S.C. § 552(b)(7)(f).

       17.      The agreement signed on November 3, 2020, by which Individual X forfeited the

1HQ3 wallet now worth approximately $3 billion, was not a document “compiled for law

enforcement purposes.” See FBI v. Abramson, 456 U.S. 615 (1982).

       18.      FIOA Exemption 7(F) requires the agency to establish a “nexus between disclosure

and possible harm,” so the exemption cannot extend beyond the period of actual danger. See

Albuquerque Pub. Co. v. U.S. Dep’t of Just., 726 F. Supp. 851, 858 (D.D.C. 1989).

       19.      The government alleged that more than a decade ago, Silk Road creator Ross

Ulbricht “became aware of Individual X’s online identity and threatened Individual X for the return

of the cryptocurrency to Ulbricht,” but Mr. Ulbricht poses no current or future threat to Individual

X. First, Mr. Ulbricht has forfeited his interest in the 1HQ3 wallet and no longer seeks or would

benefit from its return. Second, Individual X has forfeited his interest in the 1HQ3 wallet and no

longer could return it. Third, Mr. Ulbricht was arrested more than ten years ago, on October 13,

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2013, and has been in custody since then. Fourth, Mr. Ulbricht is serving a life sentence in federal

prison.


      DOJ Failed To Respond Adequately To Plaintiff’s Request For Public Records

          20.    DOJ has 20 business days from receipt of a FOIA request to notify a requestor of

the government’s determination. See 5 U.S.C. § 552(a)(6)(A)(i). Under “unusual circumstances,”

the Department may extend its disclosure obligation by up to ten business days, provided “the

agency provided a timely written notice to the requester.” 5 U.S.C. § 552(a)(6)(B).

          21.    More than 30 business days have passed since Battle Born submitted its FOIA

request to DOJ through its EOUSA FOIA electronic request portal. Yet Battle Born has received

no notice of the Department’s determination with respect to the requested records nor notice of

unusual circumstances excusing compliance for ten additional business days. In any event, a ten-

business day extension would have given the Department only 30 business days to comply with

Battle Born’s request.

          22.    Plaintiff has exhausted available administrative remedies with respect to its FOIA

request to DOJ.

                                             COUNT I

                Defendant Has Wrongfully Withheld Non-Exempt Public Records
                            In Violation Of FOIA, 5 U.S.C. § 552.

Plaintiff incorporates and re-alleges Paragraphs 1–22.

          23.    Plaintiff submitted to Defendant requests for public records that reasonably

described the records sought and fully conformed to Defendant’s published FOIA regulations.

          24.    Defendant has withheld, and continues to withhold, non-exempt documents

responsive to Plaintiff’s FOIA requests.

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       25.     Accordingly, Defendant has unlawfully withheld, and continues to unlawfully

withhold, public records in violation of 5 U.S.C. § 552.

       26.     Defendant’s conduct has caused irreparable harm by depriving Plaintiff of its right

to public records under the law. Defendant’s conduct will continue to cause such harm until

Defendant is compelled to obey the law.

                                    PRAYER FOR RELIEF

       Plaintiff respectfully requests that this Court:

       A.      Order the Defendant to conduct an adequate search for all records responsive to
               Plaintiff’s FOIA requests and demonstrate the use of search methods reasonably
               likely to lead to the discovery of records responsive to Plaintiff’s FOIA requests.

       B.      Order the Defendant to produce, by a certain date, all non-exempt records
               responsive to Plaintiff’s FOIA requests and a Vaughn index of any responsive
               records withheld under claim of exemption.

       C.      Enjoin the Defendant from continuing to withhold all non-exempt records
               responsive to Plaintiff’s FOIA requests.

       D.      Award Plaintiff its cost and reasonable attorneys’ fees in this action, according to
               5 U.S.C. § 552(a)(4)(E).

       E.      Award any other further relief that the Court deems equitable and just.



Dated: January 8, 2024                        Respectfully submitted,

                                              /s/ Rod J. Rosenstein
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